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                           UNITED STATES DISTRICT COURT                                               -            ' · · Or-"
                      FOR THE WESTERN DISTRICT OF KENTUCKY                       16 OCT 3! AH 9:
                               OWENSBORO DIVISION                                                                               19


 WILLIAM RANDALL LOGSDON,
                                                             CIVIL COMPLAINT
                      Plaintiff,

 v.                                                               CASE NO. f:/~-Cll                         .. /3 7-*JHM
 MSCB, INC.,
                                                        DEMAND FOR JURY TRIAL
                     Defendant.


                        COMPLAINT FOR RELIEF PURSUANT
                   TO THE FAIR DEBT COLLECTION PRACTICES ACT

         NOW COMES the Plaintiff, WILLIAM RANDALL LOGSDON ("Plaintiff'), by and

through his attorneys, Consumer Law Partners, LLC ("CLP"), complaining of MSCB, INC.

("Defendant"), as follows :

                                      NATURE OF THE ACTION


      1. Plaintiff brings this action for damages pursuant to the Fair Debt Collection Practices

Act, 15 U.S.C. §1692, et seq. ("FDCPA").

                                     JURISDICTION AND VENUE


      2. This action arises under and is brought pursuant to the FDCP A. Subject matter

jurisdiction is conferred upon this Court by 15 U.S.C §1692, 28 U.S.C. §§1331 and 1337, as the

action arises under the laws of the United States.

      3. Venue is proper in this Court pursuant to 28 U.S. C. § 13 91 as Defendant conducts

business in the Western District ofKentucky and all of the events or omissions giving rise to the

claims occurred within the Western District of Kentucky.

                                              PARTIES



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    4. Plaintiff is a 44 year old natural person, currently residing at 2311 West   5th   Street,

Owensboro, Kentucky, which falls within the Southern Western District of Kentucky.

    5.   Plaintiff is a "consumer" as defined by §1692a(3) ofthe FDCPA.

    6. From its headquarters located at 1410 Industrial Park Road, Paris, Tennessee, Defendant

is in the business of collecting consumer debts for others, including a debt allegedly owed by

Plaintiff.

    7. Defendant is a Tennessee corporation that is registered with the Kentucky Secretary of

State under identification number 0722482 and regularly collects consumer debts in Kentucky.

    8. Defendant is a "debt collector" as defined by § 1692a(6) of the FDCP A, because it

regularly use the mail and/or the telephone to collect, or attempt to collect, delinquent consumer

accounts.

    9. On its correspondences, Defendant identifies itself as a debt collector.

                             FACTS SUPPORTING CAUSES OF ACTION

    10. Plaintiff has a myriad of health problems including sever diabetic neuropathy, loss of his

big toe, stroke, and loss of the use of his right eye. Due to his medical issues, Plaintiff is unable

to work and in the process of applying for disability benefits from the Social Security

Administration. See attached Exhibit A is a true and correct copy of an Affidavit signed by

Plaintiff.

    11. Throughout the last many years, Plaintiff has incurred a large amount of medical debt

owed to various healthcare providers which he has been unable to fully pay. As a result, Plaintiff

has been contacted by a number of different companies seeking payment from him for medical

debt. See attached Exhibit A.

    12. Plaintiff is also financially responsible for his minor daughter, Skyler. !d.



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    13. In an effort to establish what outstanding liabilities he had, Plaintiff pulled his credit

report in early October 2016. Included on the report was an entry by Defendant. !d.

    14. Not recognizing Defendant's name, Plaintiff looked up its telephone number on the

internet. !d.

    15. On October 7, 2016, Plaintiff called Defendant and was connected to a female

representative named Taylor. During this call, Plaintiff informed Defendant that he had pulled

his credit report and was looking for additional information. !d.

    16. After Plaintiff provided his phone number and address, Defendant was able to locate his

account. !d.

    17. Defendant advised that it was seeking payment on outstanding medical bills at

Owensboro Health Regional Hospital ("OHRH") for a visit with Skyler on November 18, 2014

in the amounts of$11.00, $48.00, and $139.00. ("subject consumer debt"). !d.

    18. Upon information and belief, OHRH turned the collection ofthe subject consumer debt

over to Defendant after Plaintiffs default.

    19. At no point during the October 7, 2016 telephone communication did Defendant

identify itself as a debt collector. !d.

    20. Upon information and belief, Defendant routinely fails to identify itself as a debt

collector during its telephonic communications with consumers.

    21 . Confused over his communications with Defendant, Plaintiff spoke with CLP regarding

his rights.

    22. Plaintiff has incurred costs and expenses consulting with his attorneys as a result of

Defendant's collection actions.

    23. Plaintiff has suffered financial loss as a result of Defendant' s collection actions.



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    24. Plaintiff has been unfairly misled by Defendant's collection actions .

               COUNT I- VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT


    25. Plaintiff repeats and realleges paragraphs 1 through 24 as though fully set forth herein.

    26. The FDCPA states:

               "A debt collector may not use any false, deceptive, or misleading
               representation or means in connection with the collection of any
               debt. Without limiting the general application of the foregoing, the
               following conduct is a violation of this section:The failure to
               disclose in the initial communication with the consumer and, in
               addition, if the initial communication with the consumer is oral, in
               that initial oral communication, that the debt collector is attempting
               to collect a debt and that any information obtained will be used for
               that purpose, and the failure to disclose in subsequent
               communications that the communication is from a debt collector,
               except that this paragraph shall not apply to a formal pleading made
               in connection with a legal action." 15 U.S.C. §1692e(11).



               "A debt collector may not use unfair or unconscionable means to
               collect or attempt to collect any debt." 15 U.S. C. § 1692f.



   27. Defendant violated 15 U.S.C. §§ 1692e, e(11), and f during the October 7, 2016

communications with Plaintiff. During this call, Defendant did not advise Plaintiff that it was

acting as a debt collector. Because the communication were not formal pleadings made in

connection with a legal action, Defendant was mandated by the FDCP A to give the above

disclosure.

   28. As an experienced and sophisticated debt collector, Defendant knows that it is required

to make this disclosure. Plaintiff asserts that Defendant routinely ignores this disclosure during

its telephonic debt collection communications.




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    29. Given that Defendant failed to advise that it was a debt collector, Defendant's

communications with Plaintiff were misleading and Defendant gained an unfair advantage over

him as consumers are more likely to pay an original party of interest as opposed to a third-party.

    30. As plead in paragraphs 21 through 24, Plaintiff has been harmed and suffered damages

as a result of Defendant' s illegal collection actions.

    31 . WHEREFORE, Plaintiff, WILLIAM RANDALL LOGSDON, respectfully requests that

this Honorable Court enter judgment in his favor as follows :

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Awarding Plaintiff statutory damages of$1 ,000.00 as provided under 15 U.S.C.
      § 1692k(a)(2)(A);

   c. Awarding Plaintiff actual damages, in an amount to be determined at trial, as provided
      under 15 U.S.C. §1692k(a)(l);

   d. Awarding Plaintiff costs and reasonable attorney fees as provided under 15 U.S. C.
      §1692k(a)(3); and

   e. Awarding any other relief as this Honorable Court deems just and appropriate.


Dated: October 14, 2016                         Respectfully Submitted,

                                                s/ Daniel M. Spector
                                                Daniel M. Spector Esq. #6301224
                                                Counsel for Plaintiff
                                                Consumer Law Partners, LLC
                                                435 N. Michigan Ave., Suite 1609
                                                Chicago, Illinois 60611
                                                (267) 422-1000 (phone)
                                                (267) 422-2000 (fax)
                                                Daniel.s@consumerlawpartners.com
                                                davidklain@aol.com




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